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                    UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION


 JOHN R. ZEMATER JR.,
           Plaintiff
                                                      No. 22 CV 6712
        v.
                                                      Judge Jeremy C. Daniel
 PUBLIC ACTION TO DELIVER
 SHELTER INC d/b/a HESED HOUSE,
          Defendant


                                         ORDER

For the reasons stated on the record at the January 30, 2025, motion hearing and in
this Order, the defendant’s motion to dismiss the plaintiff’s third amended complaint
[104] is granted. The plaintiff’s motion for reconsideration of the Court’s order
denying his motion for preliminary injunction and sanctions [110] is denied. Because
amendment would be futile and prejudicial to the defendant, the plaintiff’s motion to
file a fourth amended complaint [112] is denied. Civil case terminated.

                                     STATEMENT 1

Defendant Public Action to Deliver Shelter Inc. d/b/a Hesed House (“Hesed House”)
is a non-profit organization that operates homeless shelters in Illinois. ((R. 97
(“TAC”).) ¶ 4.) 2 Pro se Plaintiff John R. Zemater Jr., a former resident of Hesed
House, 3 complains of Hesed House’s policy requiring residents to wake-up at 7:00
a.m. (the “Policy”). (Id. ¶¶ 6–7.) According to Zemater, the Policy allows the staff to
“sweep[] and mop[] the floors” of a single room containing forty-two bunk beds. (Id.
¶¶ 8, 31.) He claims that “there is no need” for this daily cleaning by the staff and
other residents and that Hesed House “can accommodate [him] without any undue
hardship and is choosing not to[.]” (Id.) The only exceptions to the Policy are made for


1 The Court has previously set out the factual allegations underlying Zemater’s claims (R. 65

(“MTD Order”); R. 103 (“Sanctions Order”)), and only restates his allegations here to the
extent necessary to analyze the pending motions. The allegations are presumed true for the
purpose of resolving the pending motion. Vimich v. Vorwald, 664 F.3d 206, 212 (7th Cir.
2011).
2 For ECF filings, the Court cites to the page number(s) set forth in the document’s ECF

header unless citing to a particular paragraph or other page designation is more appropriate.
3 Zemater received notice on January 8, 2025 that he may no longer reside at Hesed House.

(R. 112 at 4.)
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individuals with a valid doctor’s note based on legitimate medical needs or for those
with a confirmed overnight work shift. (Id. ¶ 9.) This exception has been offered to
Zemater multiple times, like when he had to work overnight, but he nevertheless
alleges that Hesed House discriminates against him by not excepting him from the
Policy on the basis of his alleged sleep disorder. (Id. ¶ 8.) Zemater has never been
diagnosed by a doctor with a sleep disorder, but he claims that such verification is
unnecessary because he “fits the profile of a person” with such a disorder. (Id. ¶ 13.)

       I.     HESED HOUSE’S MOTION TO DISMISS

              A.     Procedural History

Zemater’s second amended complaint alleged disability discrimination pursuant to
Titles II and Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §
12101 et seq. (Counts I and II); section 504 of the Rehabilitation Act of 1973, id. § 794
(Count III); and the Illinois Human Rights Act (“IHRA”), 775 ILCS 5/1-101 et seq.
(Count IV). (R. 46 “SAC”). 4

The Court granted Hesed House’s motion to dismiss Zemater’s second amended
complaint and afforded Zemater until September 4, 2024 to file a third amended
complaint. (MTD Order at 1–2.) The Court concluded that Counts I, III, and IV failed
to state a claim because the complaint merely alleged Hesed House was a non-profit
organization, and there are no allegations that Hesed House is an instrumentality of
a state or local government that would qualify as a public entity. (Id. at 2.) Count IV
also failed because there was no allegation that Zemater exhausted his claim by
presenting it to the Human Rights Commission. (Id.) Count II failed for two reasons:
the complaint did not plausibly allege that (1) Zemater had a disability, instead he
alleged that he had never been diagnosed with a sleep disorder and did not allege
how the alleged disorder had impacted a major life activity and (2) Zemater failed to
allege he was denied a full and equal opportunity to enjoy the services Hesed House
provides, since he alleged that Hesed House provides accommodation for those who
have a medical note or an overnight work shift. (Id. at 3.)

Zemater did not file a revised complaint within the deadline, and so the Court entered
judgment for Hesed House. (R. 75.) Zemater subsequently filed motions for relief from
judgment (R. 77), and to file a third amended complaint, (R. 85) which the Court
granted. (R. 88.) Zemater filed a third amended complaint. (See TAC.) Presently
pending is the defendants’ fourth iteration of a Federal Rule of Civil Procedure
12(b)(6) motion to dismiss Zemater’s complaint. (R. 104; see generally R. 17; R. 48; R.
81.) On January 30, 2025, the Court held an evidentiary hearing on the present
motion. (R. 115.)



4 The Court had jurisdiction over these claims under 28 U.S.C. § 1331.


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             B.     Legal Standard

Where, as here, the plaintiff is pro se, the Court accords a liberal reading of the
complaint. See Smith v. Dart, 803 F.3d 304, 309 (7th Cir. 2015) (citing Haines v.
Kerner, 404 U.S. 519, 520 (1972) (per curiam)). Nevertheless, “[t]his does not mean
that [the Court] will fill in all of the blanks in a pro se complaint.” Hamlin v.
Vaudenberg, 95 F.3d 580, 583 (7th Cir. 1996.) The Court also will not accept legal
conclusions or conclusory allegations as sufficient to state a claim for relief. McCauley
v. City of Chicago, 671 F.3d 611, 617 (7th Cir. 2011). Factual allegations must
plausibly state an entitlement to relief “to a degree that rises above the speculative
level.” Munson v. Gaetz, 673 F.3d 630, 633 (7th Cir. 2012). This plausibility
determination is “a context-specific task that requires the reviewing court to draw on
its judicial experience and common sense.” Id.

             C.     Analysis

The third amended complaint fails to state a claim. Before reaching Hesed House’s
arguments for dismissal under 12(b)(6), the Court briefly addresses whether
Zemater’s complaint is moot under 12(b)(1). See Rizzi v. Calumet City, 11 F. Supp. 2d
994, 995 (N.D. Ill. July 21, 1998 (“If the court dismisses . . . for lack of subject matter
jurisdiction, the accompanying defense becomes moot and need not be addressed.”).
The Court has a duty to explore this issue sua sponte because, “[r]egardless of
whether a justiciable controversy existed at the time a suit was filed, a federal court
must abjure decision on a question that intervening events have rendered moot, lest
it run afoul of the judiciary’s longstanding prohibition on rendering merely ‘advisory’
opinions.” Citizens for Appropriate Rural Roads, Inc. v. Foxx, 14 F. Supp. 3d 1217,
1230 (S.D. Ind. 2014) (collecting cases). “A case is moot when the issues presented are
no longer ‘live’ or the parties lack a legally cognizable interest in the outcome.” City
of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000). Here, at the evidentiary hearing on
the pending motion, Zemater conceded that his complaint seeking injunctive relief
from the Policy is now moot, as he no longer resides at Hesed House. Even so, the
third amended complaint seeks compensatory damages, which precludes a finding a
mootness. Accordingly, the Court now analyzes the complaint under Rule 12(b)(6).

Beginning with Count II, Zemater alleges that he has a disability based on online
articles he has read about sleep disorders. (TAC ¶¶ 13, 18.) He also claims that his
sleep disorder is obvious, and so he is not obligated to provide Hesed House with a
doctor’s note. (Id. ¶ 21.) These allegations fail to create an inference of disability that
rises beyond a speculative level. Zemater’s allegations amount to nothing more than
a non-verified theory that he has a sleep disorder based on his perceived “pattern of
falling asleep around 2 a.m. and getting up at 10 a.m.” (Id. ¶ 22.) Also, nothing about
these allegations supports an inference that Zemater’s disability is obvious. E.g.,
Hedberg v. Indiana Bell Tel. Co., 47 F.3d 928, 934 (7th Cir. 1995) (“For example, it
would appear to most observers that an employee who suffers frequent seizures at
work likely has some disability.”).

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But even if Zemater could plausibly allege that he is disabled, the complaint
nonetheless fails as it does not plausibly allege that Hesed House has discriminated
against Zemater. Under Title III, discrimination means “a failure to make reasonable
modifications in policies . . . when such modifications are necessary to afford such
goods, services, facilities, privileges, advantages, or accommodations to individuals
with disabilities.” PGA Tour, Inc. v. Martin, 532 U.S. 661, 682, (2001) (emphasis in
original) (quoting 42 U.S.C. § 12182(b)(2)(A)(ii)). In other words, “[Hesed House] is
not required to provide the specific accommodation that [Zemater] requests;
nonetheless it must at least provide a reasonable one.” Bahan v. CNH Indus. Am.,
LLC, No. 18 C 1414, 2020 WL 7763532, at *10 (C.D. Ill. Dec. 29, 2020) (citing EEOC
v. Sears, Roebuck & Co., 417 F.3d 789, 802 (7th Cir. 2005)). 5 “[A] modification is
unreasonable if it imposes an ‘undue financial and administrative burden’ or requires
a ‘fundamental alteration’ in the nature of the privilege or program.” Ganden v. Nat’l
Collegiate Athletic Ass’n, No. 96 C 6953, 1996 WL 680000, at *14 (N.D. Ill. Nov. 21,
1996) (collecting cases).

Here, nothing in Zemater’s complaint supports an inference that the Policy is
unreasonable or unreasonably applied. According to Zemater, the Policy exists to
allow the staff to “sweep[] and mop[] the floors” of a single room containing forty-two
bunk beds. (TAC ¶¶ 8, 31.) Common-sense counsels that the Policy, which allows for
daily cleaning of a men’s shelter is not only reasonable, but prudent. Zemater’s
unsupported factual allegation that Hesed House’s daily cleaning is unreasonable
because it is unnecessary is implausible; simply alleging his subjective belief that he
keeps his bunk bed and cubicle tidy does not come close to supporting an inference
that the Policy, which is designed to accommodate the entire population that Hesed
House serves, is unreasonable. It is also reasonable for Hesed House to require
employer and doctor verification before extending exceptions to the Policy. See
generally Keen v. Teva Sales & Mktg., Inc., 303 F. Supp. 3d 690, 726 (N.D. Ill. 2018)
(concluding that refusing to allow employee to return to work without doctor’s note
was a legitimate nondiscriminatory reason under Title VII); Jackson v. Jernberg
Indus., Inc., 677 F. Supp. 2d 1042, 1050 (N.D. Ill. 2010) (explaining that “[c]ourts
have found that a number of employer verification requirements are permissible
under the FMLA” like requiring a doctor’s note, as long as the employer does not
“discourage[] the employee from exercising his FMLA leave”). The inference of
reasonableness is common sense; the Policy affords a rationale means for Hesed
House to verify requests for exceptions to its Policy. But Zemater’s requested
modification to the Policy is unreasonable; even viewed in a light most favorable to
Zemater, his requested modification plausibly undermines Hesed House’s ability to
provide clean and safe places to sleep for the homeless population it serves. And
Zemater’s allegations that he has been granted an exception to the Policy previously

5 In determining whether reasonable accommodations have been provided under Title III,

precedent interpreting the Rehabilitation Act and Title II of the ADA are instructive. Vande
Zande v. Wisc. Dept. of Admin., 44 F.3d 538, 542 (7th Cir. 1995).
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undermines any inference that the Policy is unreasonably applied. (Id. ¶ 8.) Zemater
has never alleged that Hesed House would not afford him an exception if he adhered
to the Policy; he simply alleges that requiring him to verify his need for an exception
is discrimination, but, for the above reasons, it is not. The Court concludes that the
complaint fails to state a claim based on Hesed House’s Policy.

Zemater’s remaining claims fail because he does not plausibly allege that Hesed
House is a public entity. As set forth in the MTD Order, Title II of the ADA, the IHRA,
and the Rehabilitation Act apply only to public entities, i.e., “(A) any State or local
government; (B) any department, agency, special purpose district, or other
instrumentality of a State or States or local government; and (C) any department,
agency, special purpose district, or other instrumentality of a State or States or local
government.” 42 U.S.C. § 12131(1). There is no question that Hesed House, which
Zemater alleges is a non-profit, is not a governmental body. See Melton v. Orange
Cnty. Democratic Party, 304 F. Supp. 2d 785, 788 (M.D.N.C.)) aff’d, 111 F. App’x 707
(4th Cir. 2004) (collecting cases) (“All of these [entities which federal courts have
found to be public entities] have been given authority under local law to provide
services for the city or state.”). The only other avenue available to Zemater, then, is
if he could plausibly allege that Hesed House is an instrumentality of the
government; he cannot. Although the Seventh Circuit has not addressed the issue
directly, the Second Circuit has held that “‘instrumentality’ is . . . best read as
referring to a creature of a state or municipality.” Green v. City of New York, 465 F.3d
65, 79 (2d Cir. 2006) (emphasis added). As the court explained, “a private hospital
performing services pursuant to a contract with a municipality even if it does so
according to the municipality’s rules and under its direction, is not a creature of any
governmental entity” but rather a “parallel entity.” Id. Accordingly, even accepting
Zemater’s factual allegations that Hesed House has received government funding or
is coordinating with local government, absent any plausible allegation Hesed House
belongs to and was created by the government, his claims fail.

In his reply brief, Zemater argues that Martin v. Emmauel, No. 19 C 1709, Dkt No.
22 (N.D. Ill. Aug. 27, 2019), and Carter v. City of Chicago, No. 20 C 1083, Dkt. No. 46
(N.D. Ill. Feb. 17, 2021), stand for the proposition that “where a partnership exists
between a local unit of government and a homeless shelter, liability is established for
[the] homeless shelter[.]” (R. 116 ¶ 11.) He is incorrect. First, Martin and Carter
involved claims asserted against the City itself. Martin, at 1; Carter, at 1. Second, on
the City’s motions to dismiss, in assessing the scope of the City’s liability (not the
homeless shelter’s) the court analyzed whether the complaints adequately alleged
that the homeless shelters constituted a “service, program, or activity” of the City.
Martin, at 4; Carter, at 7. Because the complaints alleged that their interactions with
the homeless shelters arose “through the City’s operation of its Shelter Program,” the
complaints plausibly alleged that the shelters were a City service, program, or
activity; said differently, the complaint supported an inference that the City and the
homeless shelters were engaged in a joint venture or had a close relationship. Martin,

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at 4–5; Carter, at 8. Critically, contrary to Zemater’s view, the court did not decide
that the plaintiffs had plausibly alleged liability for the homeless shelter. Here,
unlike in Martin and Carter, Zemater’s allegations are against Hesed House, a non-
profit that is not a public entity. And, in any event, the Court does not credit
unfounded legal theories like Zemater’s claim that Hesed House and the City of
Aurora are engaged in a “joint venture” and a “partnership.” (See TAC ¶ 26.)

       II.    ZEMATER’S MOTION TO RECONSIDER

Also pending before the Court is Zemater’s motion to reconsider the Sanctions Order.
(See R. 110.) 6 Motions to reconsider are governed by Rule 54(b), which provides that
“any order or other decision . . . may be revised at any time before the entry of a
judgment . . . .” Fed. R. Civ. P. 54(b). The Court only grants reconsideration if the
movant clearly establishes “(1) that the court committed a manifest error of law or
fact,” or (2) if the moving party reveals “newly discovered evidence.” Oto v. Metro. Life
Ins. Co., 224 F.3d 601, 606 (7th Cir. 2000) (citation omitted). Reconsideration is an
“extraordinary remedy” reserved for “exceptional,” Foster v. DeLuca, 545 F.3d 582,
584 (7th Cir. 2008), or “compelling” circumstances. Santamarina v. Sears, Roebuck &
Co., 466 F.3d 570, 572 (7th Cir. 2006).

Zemater’s motion claims to be based upon newly discovered evidence; he asserts that
the Executive Director of Hesed House, Joe Jackson, told him that he “is no longer
welcome to stay” at Hesed House because of the instant lawsuit. (R. 110 ¶ 2.) He
further alleges that Jackson explained that the pending lawsuit has negatively
impacted Hesed House’s insurance coverage and that, without insurance, Hesed
House must close its doors to the 500 people it currently serves. (Id. ¶¶ 4–5.) Zemater
has also threatened Hesed House with filing two additional lawsuits against them.
(Id. at 2.) He claims that he is now barred from all organizations associated with
Hesed House. (Id. ¶¶ 8–9.) He also asserts that he has been barred from returning to
Hesed House property to retrieve his personal property, such as his mail. (Id.)

After setting forth these factual allegations, the motion stops short of offering any
legal argument as to why these facts create the exceptional circumstance warranting
reconsideration of the Sanctions Order. This omission alone is sufficient basis to deny
Zemater’s motion. Tyler v. Runyon, 70 F.3d 458, 466 (7th Cir. 1995). What’s more, the
Court has advised Zemater that:

              the operative complaint defines the issues before the Court.
              The Court is not here to resolve all issues between the
              plaintiff and the defendant; this case is limited to the
              issues raised in the amended complaint. The Court


6 The Sanctions Order also denied Zemater’s request for a preliminary injunction, but
Zemater claims to only seek reconsideration of the Court’s order regarding sanctions. (R. 110.)
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             cautions the parties that motions filed that go beyond the
             scope of the pleadings may be viewed as frivolous.

(R. 103.) Zemater has not heeded this warning. The Court concludes that his motion,
(as was rejected in the Sanctions Order), which is based on facts outside of the
operative complaint, is frivolous. See Janky v. Batistatos, 259 F.R.D. 373, 379 (N.D.
Ind. 2009) (“A claim is frivolous if the probability of success is very low, Maxwell v.
KPMG LLP, 520 F.3d 713, 719 (7th Cir. 2008), or one “’that no reasonable person
could supposed to have any merit,’ Lee v. Clinton, 209 F.3d 1025, 1026 (7th Cir.
2000).”). Zemater’s motion for reconsideration is denied.

      III.   ZEMATER’S MOTION        FOR   LEAVE   TO   FILE   A   FOURTH AMENDED
             COMPLAINT

Zemater additionally seeks leave to file a Fourth Amended Complaint based on his
allegation that he is presently barred from residing at Hesed House because of the
pending lawsuit. (R. 112.) “Under Rule 15(a) of the Federal Rules of Civil Procedure,
the district court may grant leave to amend pleadings and such leave ‘shall be freely
given when justice so requires.’” Feldman v. Am. Mem’l Life Ins. Co., 196 F.3d 783,
793 (7th Cir. 1999) (quoting Fed. R. Civ. P. 15(a)). “However, leave to amend is
“inappropriate where there is . . . dilatory motive on the part of the movant, repeated
failure to cure deficiencies by amendments previously allowed, undue prejudice to the
opposing party by virtue of allowance of the amendment, or futility of the
amendment.” Id. A court’s decision about whether to allow a plaintiff to file an
amended complaint is afforded “significant deference” and will only be reversed if the
court “refused to grant the leave ‘without any justifying reason.’” Ewing v. 1645 W.
Farragut LLC, 90 F.4th 876, 892 (7th Cir. 2024) (citation omitted).

Here, Zemater claims that his new allegations support an inference that Hesed House
discriminated against him based on his disability. (R. 112 ¶¶ 2, 5.) Not so; these
allegations are futile because they fall short of a plausible claim that Zemater is
disabled or that Hesed House failed to make reasonable modifications to its Policy.
(See TAC ¶ 13.) The new allegations are also consistent with a dilatory motive as
evidenced by Zemater throughout this litigation; each time Hesed House has filed a
motion to dismiss, Zemater has sought leave to amend. (Compare R. 17; R. 48; R. 81;
R. 104, with R. 27; R. 76; R. 89; R. 112.) But any amendments filed have not added
much to the allegations, which indicates that Zemater’s purpose is to unjustifiably
extend this litigation.

Additionally, allowing Zemater to amend his complaint to add a new ADA retaliation
claim would be unduly prejudicial to Hesed House. “Undue prejudice occurs where
the amendment ‘brings entirely new and separate claims . . . or at least entails more
than an alternative claim or a change in the allegations of the complaint and where
the amendment would require expensive and time-consuming additional discovery.’”
Tri-State Disposal, Inc. v. Vill. of Riverdale, No. 18 C 2138, 2020 WL 5627734, at *2

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(N.D. Ill. Sept. 21, 2020) (citation omitted). The wrong asserted in the prior
complaints was Hesed House’s alleged failure to accommodate Zemater, which he
claims harmed him by not allowing him to sleep past 7 a.m. (See generally TAC.) But
Zemater’s retaliation claim asserts that his status as a Hesed House resident was
revoked after two years of this litigation and his threats to file new lawsuits against
Hesed House alleging slander and a violation based on the removal of his car from
the Hesed House lot. (R. 112 ¶ 1.) Because any retaliation claim would turn on new
factual and legal claims, amendment will not be allowed. See e.g., Murphy v. White
Hen Pantry Co., 691 F.2d 350, 353 (7th Cir. 1982) (concluding that the district court
did not abuse its discretion in refusing to allow plaintiffs to amend their complaint in
part because the motion would inject an entirely new theory into the litigation). And
the cost of extending this litigation even further, thereby requiring the defendant to
continue to defend against Zemater’s ever-evolving claims, unfairly prejudices the
defendant. Indeed, according to Zemater, this lawsuit has put Hesed House in
jeopardy of shutting down. (R. 110 ¶¶ 4–5.) And this case has been lengthy with
limited discovery ongoing; the case was originally filed in 2022 and since then,
Zemater has filed four complaints and Hesed House has filed four motions to dismiss.
This case has reached its end. 7



Date: February 3, 2025
                                                          JEREMY C. DANIEL
                                                          United States District Judge




7 At the January 30th evidentiary hearing, Hesed House’s attorney informed the Court that

Zemater had been contacting his client directly. In light of this, and given Zemater’s prior
inappropriate statements to defense counsel, which resulted in the Court admonishing the
plaintiff, (see R. 84) the Court ordered Zemater to direct all future communications about this
lawsuit to Hesed House’s attorney and to avoid contacting Hesed House’s staff regarding this
lawsuit.
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